Case 2:19-bk-51311        Doc 21    Filed 06/06/19 Entered 06/07/19 10:45:17         Desc Main
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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: June 6, 2019



________________________________________________________________


4826-5446-9270
                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 In Re:                                           :
                                                  :
           Percy J. Cornelious,                   :     Case No.: 19-51311
                                                  :     Chapter: 7
                                                  :     Judge: C. Kathryn Preston
                      Debtor.                     :

                 ORDER GRANTING APPLICATION TO EMPLOY REALTOR

       This matter is before the Court on the Trustee’s Application for Authority to Employ
Realtor, filed with this Court and served on parties of interest May 10, 2019 [DOC. #18]. Upon
due consideration of the same and no objections having been filed thereto, it is hereby

         ORDERED, that the employment of Tom Eroshevich of RE/MAX North, is in the best
interest of the bankruptcy estate, and the employment is approved as of the Application. It is
further,

          ORDERED, that compensation of the realtor is subject to Court approval.


          IT IS SO ORDERED.

Copies to Default List and
Tom Eroshevich, RE/MAX North, 870 High Street, Worthington, Ohio 43085
Percy J. Cornelious, 2560 Willowgate Road, Grove City, Ohio 43123
